
PER CURIAM.
Latroy Sanders appeals from the motion court's judgment denying, following an evidentiary hearing, his amended Motion to Vacate, Set Aside or Correct Judgement and Sentence filed pursuant to Rule 29.151 . We have reviewed the briefs of the parties and the record on appeal and conclude the judgment of the motion court was not clearly erroneous. Rule 29.15(k). An extended opinion would have no precedential value. We have, however, provided a memorandum setting forth the reasons for our decision to the parties for their use only. We affirm the judgment pursuant to Missouri Rule of Civil Procedure 84.16(b).

All rule references are to Mo. R. Crim. P. (2017), unless otherwise indicated.

